804 F.2d 677Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Orie Elvin BILES, Plaintiff-Appellant,v.O.I. WHITE, Warden, Defendant-Appellee.
    No. 86-7141.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 17, 1986.Decided Oct. 30, 1986.
    
      Orie Elvin Biles, appellant pro se.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, HALL and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2241 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Biles v. White, C/A No. 86-253-N (E.D.Va., May 9, 1986).
    
    
      2
      AFFIRMED.
    
    